Case 4:12-cv-40022-TSH Document 1-5 Filed 02/27/12 Page 1ofE yh ibit TC

CONFIDENTIAL

TO: Susan Trainor, Staff Assistant °
FROM: Karen Cordio, Program manager
DATE: January 26, 2011

RE: Tardiness

This memo is a follow up to our conversation today regarding your consistent tardiness. After running
reports on staff log in times it appears that since December 1, 2010 to date today you have been tardy
all but 3 days. As you are aware the call center is extremely busy and all staff are expected to be on time
and ready to:work at their assigned times.

| have spoken to you in the past regarding this same issue and you informed me that you were not
always able to make it on time everyday due to your medical issues and that you were working on trying
to correctit. Today you received your approval to use FMLA and were under the impression that this
would cover you for lateness in the mornings. After speaking to Donna, your FMLA form does not
indicate that you must be late for work every day. Therefore, | expect for you to be in and available to
start answering phones at your scheduled 8:00am assigned time each morning.

This memo serves as a verbal warning and will be part of your personnel file.
C: Donna Landry, Human Resource/Director of Operation

Cheryl Montuori, Program Director
